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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )
                                             )
PETER RAFAEL DZIBINSKI                       )       Case No. 1:20-cr-193-CMH
DEBBINS,                                     )
                                             )
               Defendant.                    )

       GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
     MOTIONS FOR APPOINTMENT OF COUNSEL AND EXTENSION OF TIME

       The defendant, Peter Rafael Dzibinski Debbins, is currently serving a nearly 16-year

sentence that the Court imposed last year after he pleaded guilty to participating in an espionage

conspiracy with Russian intelligence agents. Debbins recently filed two motions that are

pending before the Court. One is a motion for the appointment of counsel to assist him in

preparing a postconviction motion under 28 U.S.C. § 2255, and the other is a motion to extend

the time for him to file a § 2255 motion. The Court should deny both motions.

       Debbins has failed to satisfy the high bar for appointing counsel to represent him in

preparing a § 2255 motion. As the Court recognized in denying his prior bid for appointed

postconviction counsel, Debbins does not have a constitutional right to counsel in postconviction

proceedings. Nor has he presented the necessary “exceptional circumstances” to justify the

Court exercising its discretion to appoint counsel. Among other shortcomings, he does not even

mention the basis for any § 2255 claim for relief, which makes it impossible to assess whether

the appointment of counsel could be appropriate. Debbins, like most inmates, should be able to

prepare his own § 2255 motion without court-appointed counsel.
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       Debbins’s motion for an extension of time to file a § 2255 motion fails because it is

premature and meritless. It is well established that the Court does not have jurisdiction to

consider a motion to extend the time for filing a § 2255 motion—essentially an argument for

equitable tolling—when the defendant has not yet filed his § 2255 motion. But even if the Court

considered the merits of his argument, Debbins, who has now had more than a year since his

sentencing to prepare any § 2255 motion, has failed to demonstrate that he is entitled to the

extraordinary relief of equitable tolling.

                                         BACKGROUND

       Debbins, a former officer in the U.S. Army Special Forces, has admitted that he

participated in an espionage conspiracy with Russian intelligence agents from December 1996 to

January 2011. See Statement of Facts (Nov. 18, 2020) (Dkt. No. 35). During that time, Debbins

traveled periodically to Russia, where he met with Russian intelligence agents and provided them

with information that he was privy to as a U.S. Army officer. See id. In furtherance of the

conspiracy, he provided the Russian intelligence agents with, among other things, classified,

national defense information about one of his Special Forces deployments and information about

several of his former Special Forces team members for the Russian intelligence agents to use in

deciding whether to try to recruit them. See id. ¶¶ 47-48. Debbins, who has family ties to

Russia, considered himself a “loyal son” of Russia and believed that America needed to be “cut

down to size.” See id. ¶¶ 30, 49.

       On August 20, 2020, a grand jury in the Eastern District of Virginia returned an

indictment charging Debbins with one count of conspiring to communicate U.S. national defense

information to agents of a foreign government, in violation of Title 18, U.S. Code, Section

794(a), (c). See Indictment (Aug. 20, 2020) (Dkt. No. 1). On November 18, 2020, Debbins



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pleaded guilty to the charged espionage conspiracy. See Minute Entry (Nov. 18, 2020) (Dkt. No.

33); Plea Agreement (Nov. 18, 2020) (Dkt. No. 34). On May 14, 2021, the Court sentenced

Debbins to 188 months of imprisonment. See Judgment (May 17, 2021) (Dkt. No. 63)

        Less than two weeks after being sentenced, Debbins filed two pleadings pro se—a motion

to withdraw his guilty plea and a notice of appeal (despite the appellate waiver in his plea

agreement). See Def.’s Withdrawal of Guilty Plea (May 26, 2021) (Dkt. No. 66); Def.’s Notice

of Appeal (May 26, 2021) (Dkt. No. 67). Within a matter of days, Debbins, through his counsel,

moved to withdraw both pleadings. See Def.’s Mot. to Withdraw Def.’s Notice to Withdraw

Plea of Guilty (May 28, 2021) (Dkt. No. 71); Unopposed Mot. to Dismiss Case Voluntarily,

United States v. Debbins, No. 21-4260 (4th Cir. June 8, 2021) (Dkt. No. 6). In the motion to

dismiss his appeal, Debbins, through counsel, stated that he “no longer wishe[d] to prosecute his

appeal” due to “alternative remedies available at the trial court regarding the issues [he] would

have raised in this appeal.” Def.’s Unopposed Mot. to Dismiss Case Voluntarily ¶ 1. It is

therefore clear that Debbins had some claim for postconviction relief in mind as far back as June

2021.

        On June 8, 2021, the Fourth Circuit dismissed Debbins’s appeal and issued its mandate.

See Order, Debbins, No. 21-4260 (4th Cir. June 8, 2021) (Dkt. No. 7); Mandate, Debbins, No.

21-4260 (4th Cir. June 8, 2021) (Dkt. No. 8). In the meantime, Debbins filed a pro se motion

for appointment of the Office of the Federal Public Defender (FPD) to represent him. See Def.’s

Request for Public Defender (June 8, 2021) (Dkt. No. 74). He provided no reason for requesting

the appointment when he had retained counsel. See id. The day after that motion was docketed,

Debbins’s retained counsel moved to withdraw from the representation, citing “irreconcilable

differences.” Mot. for Leave to Withdraw as Counsel (June 9, 2021) (Dkt. No. 76).



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       The Court granted Debbins’s attorney’s motion to withdraw and denied the request for

appointment of the FPD. See Order Granting Motion to Withdraw (June 10, 2021) (Dkt. No.

77); Order Denying Request for Appointment of Federal Public Defender (June 11, 2021) (Dkt.

No. 78). In denying the request for appointment of the FPD, the Court observed that Debbins

“has no constitutional right to the appointment of counsel in post-conviction proceedings.”

Order Denying Request for Appointment of Federal Public Defender, at 1. The Court further

noted that it “may, in some circumstances, appoint counsel for an inmate when . . . the interests

of justice so require and the inmate is financially unable to obtain counsel,” but the Court

concluded that Debbins had “not demonstrated that the interests of justice warrant the

appointment of counsel.” Id.

       On December 22, 2021, the Deputy Attorney General authorized the imposition of

“Special Administrative Measures,” or SAM, on Debbins. See Ex. A. The Deputy Attorney

General expressly found that “there is a danger that Debbins will disclose classified information,

that the unauthorized disclosure of such information would pose a threat to the national security

of the United States, and that the imposition of SAM on Debbins are reasonably necessary to

prevent disclosure of such information.” Id. at 2. As allowed by 28 C.F.R. § 501.2, the SAM

restrict Debbins’s access to the mail, the media, the telephone, and visitors. See id.

       In late July 2022, Debbins filed the pending pro se motions. The first motion requests the

appointment of counsel to assist him with preparing a postconviction motion under 28 U.S.C.

§ 2255. See Def.’s Request for Court-Appointed Attorney to Assist with 2255 Motion (July 22,

2022) (Dkt. No. 79) (hereinafter, “Def.’s Mot. for Counsel”). The second motion requests for an

extension of the time in which to file his motion under § 2255. See Def.’s Request for

Continuance for the Filing Deadline for the 2255 Motion (July 26, 2022) (Dkt. No. 80)



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(hereinafter, “Def.’s Mot. for Extension of Time”). Both motions argue that the relief requested

is appropriate because he has been under SAM since January 27, 2022, which he claims have

placed him in isolation and restricted his ability to communicate and prepare his 2255 motion.

See Def.’s Mot. for Counsel, at 1; Def.’s Mot. for Extension of Time, at 1. Debbins further

stated that he has had difficulties in communicating with potential attorneys and accessing legal

documents. See Def.’s Mot. for Counsel, at 2; Def.’s Mot. for Extension of Time, at 2.

                                           DISCUSSION

   A. The Court Should Deny Debbins’s Motion to Appoint Counsel.

       As this Court previously recognized, Debbins does not have a constitutional right to

counsel in postconviction proceedings.        See Garza v. Idaho, 139 S. Ct. 738, 749 (2019);

Pennsylvania v. Finley, 481 U.S. 551, 555-56 (1987); Rouse v. Lee, 339 F.3d 238, 250 (4th Cir.

2003) (en banc). By statute, the Court has discretion to appoint counsel “for any financially

eligible person who . . . is seeking relief under section . . . 2255 of title 28” if it “determines that

the interests of justice so require.” 18 U.S.C. § 3006A(a)(2)(B). But even then “counsel should

only be appointed under ‘exceptional circumstances.’”           Crawford v. Bailey, No. 1:21cv527

(CMH/IDD), 2022 WL 274407, at *12 (E.D. Va. Jan. 27, 2022) (quoting Whisenant v. Yuam, 739

F.2d 160, 163 (4th Cir. 1984), abrogated on other grounds by Mallard v. U.S. Dist. Ct. for the S.

Dist. of Iowa, 490 U.S. 296 (1989)). In assessing whether exceptional circumstances exist, the

Court should consider the “characteristics of the claim and the litigant,” including whether the

prisoner has a colorable claim but does not have the ability to present it. Whisenant, 739 F.2d at

163.

       No exceptional circumstances justify the appointment of counsel here. Debbins’s motion

is completely bereft of any indication as to the nature of his claims for postconviction relief. Much

less does Debbins establish that he has a colorable claim or that any claim is of the type and

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complexity to warrant the appointment of counsel. For this reason alone, Debbins’s request for

counsel should be denied.

        Debbins’s arguments about his difficulties obtaining counsel do not provide exceptional

circumstances. Such arguments presuppose that he has the right to be represented by counsel.

Given that “most [postconviction] applicants proceed pro se,” Garza, 139 S. Ct. at 749, Debbins

should be able to do the same here. He is college educated and has a graduate degree. He served

as a Captain in the U.S. Army Special Forces and worked for more than eight years in the U.S.

intelligence community. As well educated and well trained as he is, he should be able to present

his postconviction claims pro se.

        Debbins’s argument that the SAM restrictions have precluded him from obtaining counsel

is not persuasive. First, the SAM were not imposed until more than six months after he dismissed

his appeal. Debbins has failed to offer any reason why he did not obtain counsel in those six

months. Second, the SAM do not preclude him from consulting with prospective counsel. By

their terms, the SAM allow for Debbins to communicate with attorneys, see Ex. A, at 3-7, and as

he concedes, he has consulted with at least one prospective counsel since the SAM were imposed.

Indeed, earlier this year, the government worked with a prospective counsel to enable him to

communicate with Debbins under the SAM. See Ex. B (SAM affirmation from prospective

attorney).

   B.        The Court Should Deny Debbins’s Motion to Extend the Time to File a 2255
             Motion.

        Congress has imposed a one-year limitations period for prisoners to file a postconviction

motion under 28 U.S.C. § 2255. See § 2255(f). According to Debbins, the deadline for him to

file his motion is September 6, 2022—approximately one month from now. Debbins requests an




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additional six months to file a motion under § 2255. As explained below, Debbins’s request for

an extension is not ripe for consideration, and even if it was, it is meritless.

        Unless such a motion for an extension of time is “filed concurrently with or after a

§ 2255 petition” or can “be construed as the § 2255 petition itself,” the Court does not have

jurisdiction to consider it. Ramirez v. United States, 461 F. Supp. 2d 439, 441 (E.D. Va. 2006);

see also United States v. Thompson, 850 F. App’x 843, 843 (4th Cir. 2021) (“Because [the

defendant] has not filed a § 2255 motion and his motion for an extension of time did not raise

any potential grounds for § 2255 relief, the district court lacked jurisdiction to consider the

motion.”); United States v. White, 257 F. App’x 608, 609 (4th Cir. 2007) (“We conclude,

however, that the district court lacked jurisdiction to consider the motion in the first place

because [the defendant] had not filed a § 2255 motion challenging the original judgment of

conviction and his motion did not raise any potential grounds for relief.”). Here, Debbins has not

filed a § 2255 motion, and his motion for an extension “does not allege a cognizable claim for

relief under § 2255, and thus is not amenable to recharacterization as a substantive § 2255

petition.” Ramirez, 461 F. Supp. 2d at 441. As a result, the Court does not have jurisdiction to

consider the motion for extension of time.

        Even if the Court considers the merits, Debbins’s arguments do not support tolling the

limitations period. “Equitable tolling of petitions for collateral review,” which is the relief that

Debbins seeks, “is available only when a defendant demonstrates ‘(1) that he has been pursuing

his rights diligently, and (2) that some extraordinary circumstance stood in his way and

prevented timely filing.’” Whiteside v. United States, 775 F.3d 180, 184 (4th Cir. 2014) (en

banc) (quoting Holland v. Florida, 560 U.S. 631, 649 (2010)). It “is appropriate in those ‘rare

instances where—due to circumstances external to the party’s own conduct—it would be



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unconscionable to enforce the limitation period against the party and gross injustice would

result.’” Id. at 184-85 (quoting Rouse, 339 F.3d at 246).

       The circumstances here do not justify equitable tolling. Since voluntarily dismissing his

appeal at the Fourth Circuit, Debbins has had more than a year to prepare any § 2255 motion.

Indeed, his motion to dismiss the appeal suggested that he already had a claim for relief in mind.

Yet, in the almost fourteen months that have passed, Debbins never filed a § 2255 motion.

         Debbins’s motion belies any notion that he has been prevented from preparing such a

motion. He recognizes that he has had access to legal documents (even if he complains it has

been limited), that he has consulted with at least one potential attorney, and that he has

communicated with “surrogates” about getting legal representation. See Def.’s Mot. for Counsel,

at 2; Def.’s Mot. for Extension of Time, at 2. And he does not detail any efforts that he has taken

with the Bureau of Prisons to address impediments to preparing a § 2255 motion.

       Debbins’s claim that the SAM have hindered his ability to obtain the assistance of

counsel and prepare his § 2255 motion is unpersuasive. As explained above, Debbins has no

right to counsel to assist him with the preparation of a § 2255 motion. And Debbins’s claims

about the restrictions imposed by the SAM are generally not the type of circumstances that

support equitable tolling of the limitations period. See, e.g., Harris v. United States, No. 1:19-

CV-755 (TSE), 1:17-CR-106 (TSE), 2019 WL 3241170, at *5 (E.D. Va. July 17, 2019) (“As

numerous courts have held, lockdowns and/or restricted access to legal assistance or materials do

not qualify as extraordinary circumstances.”); Allen v. Johnson, 602 F. Supp. 2d 724, 727-28

(E.D. Va. 2009) (“[T]ransfers between prison facilities, solitary confinement, lockdowns,

restricted access to the law library and an inability to secure court documents do not qualify as

extraordinary circumstances.” (quoting Warren v. Kelly, 207 F. Supp. 2d 6, 10 (E.D.N.Y.



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2002))). Further, Debbins was not subjected to SAM for six months after dismissing his appeal.

He fails to state why he was not pursuing any § 2255 claims diligently during that time.

                                        CONCLUSION

       For the foregoing reasons, the Court should deny Debbins’s motions for appointment of

counsel and an extension of time to file his § 2255 motion.



                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of August, 2022, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system. And I hereby certify that I will mail the

document by U.S. mail to the following non-filing user:

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                                                            /s/
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